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              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF FLORIDA
                    WEST PALM BEACH DIVISION


   UNITED STATES OF
   AMERICA,

               Plaintiff,

         v.                                    No. 9:23-cr-80101-AMC

   DONALD J. TRUMP,
   WALTINE NAUTA, AND
   CARLOS DE OLIVEIRA.

               Defendants.


       MOTION OF 24 STATES FOR LEAVE TO FILE BRIEF AS
        AMICI CURIAE OPPOSING SPECIAL PROSECUTOR’S
         MOTION TO MODIFY CONDITIONS OF RELEASE


        The States of Iowa, Florida, West Virginia, Alabama, Alaska, Ar-

  kansas, Idaho, Indiana, Kansas, Kentucky, Louisiana, Mississippi, Mis-

  souri, Montana, Nebraska, North Dakota, Ohio, Oklahoma, South Caro-

  lina, South Dakota, Tennessee, Texas, Utah, and Wyoming (the “amici

  States”) move for leave to file the attached brief (Ex. 1) as amici curiae

  opposing the Special Prosecutor’s motion seeking to modify the conditions

  of release. Amici States offer unique and important perspectives on the



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  implications of the Special Prosecutor’s argument and request for relief,

  and believe their briefing will benefit the Court.

        This Court has the “inherent authority” to appoint amici curiae to

  assist the Court in a proceeding. Resort Timeshare Resales, Inc. v. Stuart,

  764 F. Supp. 1495, 1500 (S.D. Fla. 1991). “Inasmuch as an amicus is not

  a party and does not represent the parties but participates only for the

  benefit of the court, it is solely within the discretion of the court to deter-

  mine the fact, extent, and manner of participation by the amicus.” News

  & Sun-Sentinel Co. v. Cox, 700 F. Supp. 30, 31 (S.D. Fla. 1988) (quotation

  omitted). Courts have recognized that appointment of amici curiae is ap-

  propriate when the amici have a “special interest” or can provide assis-

  tance to the court. Id. at 32.

        Amici States each stand to suffer the harms identified in the brief

  if a gag order is imposed on President Trump. That order may affect the

  election, the First Amendment rights of tens of millions of Americans,

  and will prevent President Trump from opining on this important na-

  tional election matter.




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                               CONCLUSION

        For the foregoing reasons, Amici States respectfully request that

  this Court grant them leave to file the attached brief. A proposed order is

  attached hereto (Ex. 2).

                LOCAL RULE 7.1(a)(3) CERTIFICATION

        In accordance with Local Rule 7.1(a)(3), counsel for Amici States

  have conferred by phone or email with all parties to this case in a good-

  faith effort to obtain consent to Amici States’ Motion. Defendants have

  consented but as of the time of filing the Special Prosecutor had not indi-

  cated his consent or non-consent.




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                                        Respectfully submitted,

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                       CERTIFICATE OF SERVICE

        The undersigned certifies that on the 16th day of June, 2024, this

  motion was electronically filed with the Clerk of Court using the CM/ECF

  system, which will serve all counsel of record.


                                     /s/ Henry C. Whitaker
                                     Solicitor General




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